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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

BLANCA SANCHEZ                         §
                                       §
VS.                                    §   CIVIL NO. 4:12-CV-712-Y
                                       §
NEW BREED LOGISTICS                    §

                               FINAL JUDGMENT

       In accordance with the parties’ stipulation of dismissal (doc.

17) and Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all claims

in    the   above-styled    and   -numbered   cause    are   DISMISSED    WITH

PREJUDICE.     Each party shall bear its own costs.

       SIGNED August 13, 2013.


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                                           TERRY R. MEANS
                                           UNITED STATES DISTRICT JUDGE
